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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             PINE BLUFF DIVISION

CHARLES E. HAMNER,
ADC #143063                                                                   PLAINTIFF

V.                          CASE NO. 5:17-CV-79-JLH-BD

DANNY BURLS, et al.                                                        DEFENDANTS

                                         ORDER

        Defendants have moved for summary judgment on grounds that Mr. Hamner

failed to fully exhaust his administrative remedies before he filed this lawsuit. (Docket

entry #26) Mr. Hamner has requested additional time to respond to the motion. (#29) Mr.

Hamner’s motion (#29) is GRANTED. His response to the Defendants’ motion is now

due on or before December 15, 2017.

        In opposing the motion for summary judgment, Mr. Hamner may attach affidavits

that he or others have signed. Because affidavits are sworn statements, they must be

either notarized or declared under penalty of perjury (see 28 U.S.C. ' 1746). Unsworn

statements will not be considered in deciding the motion for summary judgment. And to

be considered, an affidavit must be based on the personal knowledge of the person who

signs it.

        The Defendants’ motion concerns only whether Mr. Hamner fully exhausted the

grievance process with regard to his claims against the Defendants before he filed suit.

Therefore, his response to this motion should address only that issue; that is, whether he
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exhausted his administrative remedies regarding his claims against the Defendants and, if

not, whether there was a valid reason why he did not.

      IT IS SO ORDERED, this 28th day of November, 2017.


                                         ___________________________________
                                         UNITED STATES MAGISTRATE JUDGE




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